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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

VICKI TIMPA, et al.,                                  §
                                                      §
         Plaintiffs,                                  §   Civil Action No. 3:16-CV-03089-N
                                                      §
vs.                                                   §
                                                      §
DUSTIN DILLARD, et al.,                               §
                                                      §
         Defendants,                                  §
                                                      §
v.                                                    §
                                                      §
JOE TIMPA                                             §
                                                      §
         Intervenor.                                  §


        DPD DEFENDANTS’ MOTION FOR DIRECTED VERDICT ON SURVIVAL
                               DAMAGES


TO THE HONORABLE COURT:

         Defendants Dustin Dillard, Kevin Mansell, Danny Vasquez, and Raymond Dominguez

(“DPD Defendants”) respectfully move this Court for a directed verdict on Plaintiffs’ survival

damages claims and would respectfully show as follows:

                                         I.       SUMMARY OF MOTION

         Plaintiffs are seeking “survival damages” as claims brought on behalf of the putative estate

of Tony Timpa.1 Plaintiffs have offered no evidence of an estate because no actual estate was ever

created.2 Under settled Texas law, only an estate can bring those claims. Vicki Timpa does not

have capacity to bring any claims as representative of the estate. Therefore, by law, Plaintiffs are


1
  This lawsuit is styled “Vicki Timpa, Individually and as Representative of the Estate of Anthony Timpa . . .”. ECF
No. 202.
2
  Based on communications with opposing counsel, they never saw the need to set up an estate.

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not entitled to act as legal representatives of Tony Timpa’s estate and all claims associated with

the estate must be dismissed.

                             II.     ARGUMENTS AND AUTHORITIES

       Under rule 50 of the Federal Rules of Civil Procedure,

               [i]f a party has been fully heard on an issue during a jury trial and the court
       finds that a reasonable jury would not have a legally sufficient evidentiary basis to
       find for the party on that issue, the court may: (A) resolve the issue against the
       party; and (B) grant a motion for judgment as a matter of law against the party on
       a claim or defense that, under the controlling law, can be maintained or defeated
       only with a favorable finding on that issue.

Fed. R. Civ. P. 50 (a)(1)(A-B.)

       “If the facts and inferences point so strongly and overwhelmingly in favor of one party that

the Court believes that reasonable men could not arrive at a contrary verdict, granting of the

motion[ ] is proper.” Boeing Co. v. Shipman, 411 F.2d 365, 374 (5th Cir.1969) (en banc), overruled

on other grounds by Gautreaux v. Scurlock Marine, Inc., 107 F.3d 331 (5th Cir.1997) (en banc).

“A directed verdict is appropriate after a party has been fully heard on an issue and the court finds

that a reasonable jury would not have a legally sufficient evidentiary basis to find for the party on

that issue.” Arthur J. Gallagher & Co. v. Babcock, 703 F.3d 284, 293 (5th Cir. 2012) (citations

omitted.)

       But “if reasonable persons could differ in their interpretations of the evidence,” a

determination of the issue is for the jury. Bryant v. Compass Grp. USA Inc., 413 F.3d 471, 475

(5th Cir.2005) (citation and quotation marks omitted). The facts are viewed, and inferences made,

in the light most favorable to the nonmovant. Babcock, 703 F.3d at 293. “Thus, although the court

should review the record as a whole, it must disregard all evidence favorable to the moving party

that the jury is not required to believe.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133,

151 (2000.)

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       “A motion for judgment as a matter of law may be made at any time before the case is

submitted to the jury. The motion must specify the judgment sought and the law and facts that

entitle the movant to the judgment.” Fed. R. Civ. P. 50 (a)(2.)

               a. Plaintiffs lack standing to bring any claims on behalf of Tony Timpa’s
                  Estate. Any claim or remedy the Estate could have sought is now barred.

       In Texas, if an injured claimant dies a wrongful death, his or her cause of action “survives”

to the estate and may be prosecuted by heirs or legal representatives. TEX. CIV. PRAC. & REM.

CODE ANN.§ 71.021(b). Parties to survival action seek adjudication of decedent’s own claims for

alleged injuries inflicted upon him by defendant, and decedent’s survival claim becomes part of

his estate at death; thus, an estate has standing to pursue such claim. see TEX. CIV. PRAC. & REM.

CODE ANN. § 71.021; City of Austin v. Membreno Lopez as Next Friend of Lopez, 632 S.W.3d

200 (Tex. App. Austin 2021.)

       Generally, “only the estate’s personal representative has the capacity to bring a survival

claim.” Austin Nursing Ctr., Inc. v. Lovato, 171 S.W.3d 850, 849 (Tex. 2005.) Under certain

circumstances, such as (1) if the heirs can prove there is no administration pending and none is

necessary; or (2) when a familial agreement vitiates the need for an administration of the estate,

then the heirs may be entitled to sue on behalf of the decedent’s estate. Id. at 850–51; see also Belt

v. Oppenheimer, Blend, Harrison & Tate, Inc., 192 S.W.3d 780, 783 (Tex. 2006).

       Although the terms legal and personal representative are sometimes used interchangeably,

the term “legal representative,” as set forth in § 71.021(b) is not defined in the Estates Code. Rather

the term “legal representative” is defined under the Texas Property Code: “Legal representative

means an executor, independent executor, administrator or independent administrator of a

decedent's estate, an obligor under a benefit plan or other governing instrument, a successor legal



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representative, or a person legally authorized to perform substantially the same functions.” Tex.

Prop. Code Ann. § 141.002(9.)

        Courts occasionally will also allow a claimed legal representative to cure any capacity

defects by showing that they are an heir of the decedent and therefore are bringing the survival

claims in the alternative capacity. Yet, such an option is not be applicable because Tony Timpa’s

parents are only considered heirs of a decedent if the decedent does not have a surviving spouse

or child. TEX. ESTATES CODE § 201.001(c); Adkison v. Polaris Indus., Inc., No. 3:18-CV-

02014-M, 2020 WL 137226, at *3 (N.D. Tex. Jan. 13, 2020).

        Nonetheless, in circumstances where it is not possible for a claimant to cure its capacity

defects, courts throw out a survival claim when it is challenged by a motion to dismiss or motion

for summary judgment. See Stewart v. Hardie, 978 S.W.2d 203, 207 (Tex.App.-Fort Worth 1998,

pet. denied) (husband, who sued as community survivor of deceased spouse's estate, was not proper

party to bring survival action and, therefore, dismissal of survival claim was appropriate); See also

Lorentz, 112 S.W.3d at 178–79 (holding person who was not an heir and had not been appointed

personal representative of the estate when she filed survival action had no standing under statute

to bring survival suit); Ford Motor Co. v. Cammack, 999 S.W.2d 1, 4–5 (Tex.App.-Houston [14th

Dist.] 1998, pet. denied) (holding that parents of adult daughter did not establish standing when

they failed to prove any justiciable interest in her estate's survival suit; they failed to prove whether

she had died intestate or testate, they failed to obtain declaration of heirship from probate court,

and no administration had occurred); Pluet v. Frasier, 355 F.3d 381, 384–86 (5th Cir.2004)

(holding mother of decedent’s alleged child did not establish standing to sue when she failed to

prove any justiciable interest in estate’s survival claim; paternity tests revealed child was not




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decedent’s and mother did not prove she was an heir or was appointed any type of representative

of estate when suit was filed).

       Under the Texas Survival Act, “a personal injury action survives to and in favor of the

heirs, legal representatives, and estate of the injured person.” TEX. CIV. PRAC. & REM. CODE

ANN. § 71.021(b) (Vernon 2002). Plaintiff, Vicki Timpa, is neither an heir nor a legal or personal

representative of the Decedent and thus is not entitled to bring suit on behalf of the Estate.

       Capacity involves the legal authority of the party to file or defend a suit. Generally,

personal representatives of the decedent’s estate are the only people entitled to sue to recover estate

property, though in some circumstances, an heir has capacity to bring suit on behalf of a decedent’s

estate. Shepherd v. Ledford, 962 S.W.2d 28, 31 (Tex. 1998), Frazier v. Winn, 472 S.W.2d 750,

752 (Tex. 1971).

       Here, no will was presented at trial because Tony Timpa died intestate. Therefore, the

Texas Estates Code determines his heirs. Under the Texas Estates Code, the estate of a person who

dies intestate with no spouse passes to the following: (1) his children and their descendants; (2) if

no children, then to his father and mother in equal portions, and; (3) if no father or mother, then to

brothers and sisters. Taking this chain of heirship determination into account, Tony Timpa’s sole

heir here is his one surviving child (K.T.). Thus, his sole child is his heir under the Texas Estates

Code, not the Tony Timpa’s parents or ex-wife. See Adkison, 2020 WL 137226, at *3 (finding that

a decedent’s parents are only heirs of a decedent if the decedent does not have a spouse or child).

Because Tony Timpa died intestate with no spouse, and one surviving child, his sole heir is K.T.

and therefore Vicki Timpa may not assert survival claim as an heir. Also, even if Vicki sought to

bring the survival claims as an heir, which she is not, Plaintiffs have not pled nor proved by any




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evidence the required proof that no administration was necessary. See Austin Nursing Ctr., 171

S.W.3d at 850–51.

       The only avenue for Vicki Timpa to assert a survival claim is as the representative of the

estate, which she is not. This is because: (1) no family settlement agreement has been presented

naming Vicki Timpa as the representative; (2) no court has named Vicki Timpa as the

representative; and (3) there is no will before the Court appointing Vicki Timpa as the estate’s

administrator. As such, Vicki Timpa lacks the capacity to assert a survival claim as a representative

of the estate or as an heir. TEX. CIV. PRAC. & REM. CODE § 71.021(b) (a personal injury action

survives only to the heirs, legal representatives, and estate of the decedent).

       Because Vicki Timpa is not the legal/personal representative of the Tony Timpa “Estate,”

she has no capacity to sue on behalf of the “Estate.” No estate was created, no one before the

Court has standing to bring any survival claims that would belong to an estate.

       Therefore, the DPD Defendants move this Court to strike all survival claims and remove

any survival claims damages from the proposed jury charge.

                                          III.    CONCLUSION

       WHEREFORE, Defendants Dustin Dillard, Kevin Mansell, Danny Vasquez, and Raymond

Dominguez respectfully request that the this Court to strike all survival claims and remove any

survival claims damages from the proposed jury charge and for all other relief to which the

Defendants are entitled.




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                                                     Respectfully submitted,

                                                     CITY ATTORNEY OF THE CITY OF
                                                     DALLAS

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                                              Attorneys for Defendants Dustin Dillard, Kevin
                                              Mansell, Danny Vasquez, and Raymond Dominguez




                              CERTIFICATE OF SERVICE

        I certify that on September 22, 2023, I electronically filed the foregoing document with the
clerk of court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”
to the following attorneys of record who have consented in writing to accept this Notice as service
of this document by electronic means.

                                                     s/ J. Cheves Ligon               .




                                                     Senior Assistant City Attorney




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